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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                       :
                                                 :
                        v.                       :     Criminal No. 1:20-cr-00103 (RDM)
                                                 :
 GEORGE NADER,                                   :
                                                 :
                    Defendant.                   :

 UNOPPOSED MOTION TO EXTEND THE GOVERNMENT’S DEADLINE TO FILE
    PROPOSED REDACTIONS TO SENTENCING HEARING TRANSCRIPT

       The United States, through undersigned counsel, respectfully submits this request to extend

the government’s deadline to file proposed redactions to the transcript of the sentencing hearing

that was held in the above-captioned matter on July 18, 2023. In support of this request, the

government states as follows:

       1.       On Tuesday, July 18, 2023, the Court held a sentencing hearing in the above-

captioned matter.

       2.       On Friday, July 21, 2023, the Court ordered the parties to “file proposed redactions

to the sentencing hearing transcript” on or before July 26, 2023. See Minute Order, July 21, 2023.

       3.       On Monday, July 24, 2023, the government requested a copy of the sentencing

hearing transcript.

       4.       On July 26, 2023, the defendant informed the Court of his position regarding the

Court’s request for proposed redactions to the sentencing hearing transcript via email transmission.

       5.       As of July 26, 2023, the government has yet to receive a copy of the sentencing

hearing transcript, but understands that one is forthcoming in the next day or two.

       The government respectfully requests that the Court extend the July 26, 2023, deadline to

July 31, 2023, so that the government may have an opportunity to review the sentencing hearing
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transcript and identify proposed redactions pursuant to the Court’s instructions.

        The government has consulted with counsel for the defendant and was informed that the

defendant consents to the government’s request.



                                                     Respectfully submitted,

                                                     COREY R. AMUNDSON
                                                     Chief, Public Integrity Section
                                                     Criminal Division
                                                     U.S. Department of Justice

                                             By:     /s/ Victor R. Salgado
                                                     Victor R. Salgado
                                                     Senior Litigation Counsel
                                                     D.C. Bar No. 975013
                                                     Public Integrity Section
                                                     Criminal Division
                                                     U.S. Department of Justice




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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this date, I electronically filed the foregoing pleading with
the Clerk of the Court using the CM/ECF system and shared a courtesy copy via email to counsel
for the defendant.



Dated: July 26, 2023                              /s/ Victor R. Salgado
                                                  Victor R. Salgado
                                                  Public Integrity Section
                                                  Criminal Division
                                                  U.S. Department of Justice




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